Case 3:17-cv-07173-FLW-LHG Document 22 Filed 05/24/18 Page 1 of 4 PageID: 461




                        UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY
___________________________________
                                       :
PATRICIA THIEFFRY, Derivatively and :
on Behalf of SYNCHRONOSS               :                    ORDER
TECHNOLOGIES, INC.,                    :
                                       :
                      Plaintiff,       :    Civil Action No. 3:17-cv-07173(FLW)(LHG)
                                       :
              v.                       :
                                       :
STEPHEN G. WALDIS, WILLIAM J.          :
CADOGAN, THOMAS J. HOPKINS,            :
JAMES M. MCCORMICK, DONNIE M. :
MOORE, KAREN L. ROSENBERGER,           :
RONALD W. HOVSEPIAN, and JOHN          :
FREDERICK,                             :
                                       :
                    Defendants,        :
                                       :
      -and-                            :
                                       :
SYNCHRONOSS TECHNOLOGIES, INC., :
                                       :
                 Nominal Defendant.    :
___________________________________ :
KIRK LAUGHLIN, Derivatively and        :
on Behalf of SYNCHRONOSS               :
TECHNOLOGIES, INC.,                    :
                                       :
                   Plaintiff,          :   Civil Action No. 3:17-cv-09039(FLW)(LHG)
                                       :
           v.                          :
                                       :
STEPHEN G. WALDIS, WILLIAM J.          :
CADOGAN, THOMAS J. HOPKINS,            :
JAMES M. MCCORMICK, DONNIE M. :
MOORE, ROBERT E. GARCIA,               :
LAWRENCE IRVING, KAREN L.              :
ROSENBERGER, RONALD W.                 :
HOVSEPIAN, and JOHN FREDERICK,         :
                                       :
      -and-                            :
                                       :
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SYNCHRONOSS TECHNOLOGIES, INC., :
                                    :
                 Nominal Defendant. :
___________________________________ :
LISA LEBOEUF, Individually and      :
on Behalf of SYNCHRONOSS            :
TECHNOLOGIES, INC.,                 :
                                    :         Civil Action No. 3:17-cv-09766(FLW)(LHG)
                   Plaintiff,       :
                                    :
           v.                       :
                                    :
STEPHEN G. WALDIS, WILLIAM J.       :
CADOGAN, THOMAS J. HOPKINS,         :
JAMES M. MCCORMICK, and DONNIE :
M. MOORE,                           :
                                    :
      -and-                         :
                                    :
SYNCHRONOSS TECHNOLOGIES, INC., :
                                    :
                 Nominal Defendant. :
___________________________________ :
LARRY A. COLTRANE, Derivatively and :
on Behalf of SYNCHRONOSS            :
TECHNOLOGIES, INC.,                 :
                                    :
                                    :
                   Plaintiff,       :         Civil Action No. 3:17-cv-10062(FLW)(LHG)
                                    :
           v.                       :
                                    :
STEPHEN G. WALDIS, WILLIAM J.       :
CADOGAN, THOMAS J. HOPKINS,         :
JAMES M. MCCORMICK, DONNIE M. :
MOORE, KAREN L. ROSENBERGER,        :
RONALD W. HOVSEPIAN, and JOHN       :
FREDERICK,                          :
                                    :
      -and-                         :
                                    :
SYNCHRONOSS TECHNOLOGIES, INC., :
                                    :
                 Nominal Defendant. :
___________________________________ :



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       THIS MATTER having come before the Court on competing applications for lead

plaintiff and counsel filed by the Rosen Law Firm and Johnson Fistel, LLP, counsel for Plaintiffs

Patricia Thieffry and Kirk Laughlin; Harwood Feffer LLP and Schnader Harrison Segal & Lewis

LLP, counsel for Plaintiff Larry A. Coltrane; and Block & Levitan, LLP and Gardy & Notis LLP,

counsel for Plaintiff Lisa LeBoeuf; it appearing that the parties also move to consolidate the above-

captioned matters; the Court having reviewed the submissions in connection with the applications

pursuant to Fed. R. Civ. P. 78; for the reasons set forth in the Opinion being filed on this date; and

for good cause shown;

       IT IS on this 23rd day of May, 2018,

       ORDERED AS FOLLOWS:

           1. The above captioned cases, Thieffry v. Waldis, et al., Civil Action No. 17-cv-

               07173 (FLW) (LHG), Laughlin v. Waldis, et al., Civil Action No. 17-cv-09039

               (FLW) (LHG), Coltrane v. Waldis, et al., Civil Action No. 17-cv-09766 (FLW)

               (LHG), and LeBoeuf v. Waldis, et al., Civil Action No. 17-cv-10062 (FLW)

               (LHG), are hereby consolidated for all purposes pursuant to Federal Rule of Civil

               Procedure 42(a);

           2. These actions shall be referred to herein as the “Consolidated Actions.” This Order

               shall apply to the Consolidated Actions and to any case that is subsequently filed

               in this Court that relates to the same subject matter as the Consolidated Actions;

           3. Every pleading in the Consolidated Actions shall bear the following Caption:




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  IN RE SYNCHRONOSS
  TECHNOLOGIES, INC.
  DERIVATIVE LITIGATION
                                               Civil Action No. 13-cv-07173 (FLW) (LHG)
  ___________________________________

  THIS DOCUMENT RELATES TO:                   [TITLE OF DOCUMENT]
         ALL ACTIONS


         4. Plaintiff Lisa LeBoeuf is hereby appointed as Lead Plaintiff.

         5. The law firm of Block & Levitan, LLP is hereby appointed as Lead Counsel and

            the law firm of Gardy & Notis LLP is hereby appointed as Liaison Counsel in the

            Consolidated Actions.

         6. The motions filed by Plaintiffs Thieffry, Laughlin, and Coltrane are DENIED.


                                                         ___/s/ Freda L. Wolfson_____
                                                         Hon. Freda L. Wolfson, U.S.D.J.




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